DEPARTAMENTO DE SALUD - REGISTRO DEMOGRAFICO Fxhibit 8
(DEPARTMENT OF HEALTH ~-DEMOGRAPHIC REGISTRY) | |
CERTIFICACION DE DEFUNCION NUMEHO
(CERTIFICATION OF DEATH) ALb1LA291L
\

NUMERO DE CERTIFICAD 2 CATE NUMBER)
| 152-2020-003523 ae
NOMBRE DEL FALLECIDO (DECEASED NAME)

JUAN OROZCO MERINO

ESTADO CIVIL (MARITAL STATUS) NOMBRE CONYUGE (SPOUSE'S NAME)
CASADO (MARRIED) RENNE OROZCQ

FECHA DEFUNCION (DENTE PATE) FECHA. Bese RBG SS TRATION DATE)
15 FEB 2020 saat ee 19 FEB 2020: :

; LUGAR DEFUNCION (DEATH PLACE) FUE EMBALSAMADO? (EMBALHED?)
HUMACAO, PUERTO RICO NO FUE EMBALSAMADO (NOT EMBALMED)

FECHA NACIMIENTO (BTRTH DATE) apap “Yacs)
14 ABR 1937 82 ANOS
LUGAR NACIMIENTO (BIRTHPLACE)
aes ce oe, ee

NOMBRE DEL PADRE (FATHE NAME) NOMBRE DE LA MADRE (MOTHER'S NAME)
JUAN OROZCO AMELIA MERINO

|
FECHA EXPEDICION (DATE ISSUED) |
12 ENE. 2022: :

ESTE ES UN ABSTRACTO DEL CERTIFICADO DE . THIS IS AN ABSTRACT OF THE RECORDS
DEFUNCION OFICIALMENTE INSCRITO EN EL FILED IN THE DEMOGRAPHIC REGISTRY OF
PUERTO RICO ISSUED UNDER THE
AUTHORITY OF LAW 24, APRIL 22, 1931

1U19-02015721

01/11/2022
$5.00

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172 Sella de Rentas Internas

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Certificaciones

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ince $5.00

 

Sello de Rentas Internas
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aeeron REGISTRO DEMOGRAFICO
(STATE REGISTRAR) ADVERTENCIA/WARNING: No es valido sin Ja pacocinuia ue 1a Marca de Agua
Not valid without seen Watermark
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Void if altered or Erased Rev. 06/2020

 
